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               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Criminal No.
               v.                             )
                                              )       FILED UNDER SEAL
GRAYDON P. YOUNG,                             )
                                              )
                Defendant.                    )

                            AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, James Wren, being duly sworn, affirm and state:

                                       INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

held this position since 2019. I am currently assigned to a squad that investigates Counterterrorism

matters as part of the Joint Terrorism Task Force (JTTF) at the FBI Washington Field Office.

       2.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is

limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.

                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint charging the

defendant, GRAYDON P. YOUNG (hereinafter “YOUNG”), with one count of Obstruction of

Justice/Congress, in violation of Title 18, United States Code, Section 1512(c)(2); one count of

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Obstruction of Justice/Destruction of Records, in violation of Title 18, United States Code, Section

1519; one count of Unlawful Entry into Restricted Buildings or Grounds, in violation of Title 18,

United States Code, Section 1752(a); and one count of Violent Entry and Disorderly Conduct on

Capitol Grounds, in violation of Title 40, United States Code, Section 5104(e)(2). This affidavit

is also submitted in support of an arrest warrant for YOUNG.

                                   STATEMENT OF FACTS

                    Probable Cause – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

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President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                      Probable Cause – Young

       10.     On January 15, 2021, a tipster provided the following information to your affiant.

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       11.     The tipster stated that while watching news coverage of the civil unrest at the U.S.

Capitol the tipster recognized YOUNG.          The tipster has known YOUNG since college

(approximately 35 years ago), and the tipster is “Facebook friends” with YOUNG.

       12.     The tipster provided a link to an NBC News article with 43 separate photos of the

civil unrest at the U.S. Capitol. 1 The tipster stated that YOUNG was visible in photo #2, which is

reproduced below (with a red arrow added to identify the particular person):




       13.     The above photograph shows YOUNG inside the rotunda of the U.S. Capitol on

January 6, 2021.

       14.     The tipster stated that YOUNG lives in Florida.

       15.     The tipster stated that on Monday January 4, 2021, YOUNG was tagged in other

people’s Facebook posts, saying they were headed up to Washington, D.C.

1
 The article is available at: https://www.nbcwashington.com/news/photos-pro-trump-supporters-
breach-the-capitol-building/2531640/

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       16.    The tipster stated that on January 7, 2021 – the day after the civil unrest at the U.S.

Capitol – YOUNG deleted his Facebook posts back through March 2019, and subsequently deleted

his entire Facebook account.

       17.    Law enforcement was able to identify YOUNG in additional photographs prior to

his entry into the U.S. Capitol on January 6, 2021. Two photographs are produced below:

              a.




              b. YOUNG circled in red




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       18.     The above photographs show YOUNG with a group of several other men wearing

tactical gear, including some with writing that says “Oath Keepers” and “Florida.”

       19.     The Associated Press published a video capturing some of the civil unrest at the

U.S. Capitol. 2 In the video, YOUNG is seen with a group of men, dressed similarly and in a

military-style “stack” formation (further described below), with hands on each other’s backs or

2
 The video is available at the following link, at slide 10: https://apnews.com/article/ex-military-
cops-us-capitol-riot-a1cb17201dfddc98291edead5badc257.
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flak jackets, some with obvious “Oath Keeper” insignias visible on their clothing, moving up

through the crowd towards the door of the U.S. Capitol. Below are two screenshots of the video

(with red arrows added to identify the particular person as he moves up through the crowd):

              a.




              b.




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       20.        I have identified YOUNG in the video based in part on his clothing (black tactical

helmet, black long-sleeved shirt, camouflaged tactical vest) and in part on photos of his association

with other members of the “Oath Keepers” outside the U.S. Capitol prior to the group walking as

a “stack” up the steps.

       21.        In the video it appears that antennas are sticking up between the members of the

stack, suggesting that YOUNG and/or his fellow “Oath Keepers” were in possession of

communication devices.

       22.        Notably, while congregating with the other men outside the U.S. Capitol, YOUNG

was wearing a “boonie” hat (a wide-brim military-style hat) on his head. Prior to making entry

into the U.S. Capitol, YOUNG changed his headgear to a black tactical helmet. Compare the

following photos of YOUNG outside the Capitol to inside the Capitol:

             a.   Outside Capitol


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               b. Inside Capitol




         23.      Based on database information, YOUNG lives in the Tampa area of Florida.

         24.      Based on database information, YOUNG is affiliated with the following cell phone

number:                   . According to an online database, the carrier for that phone number is

AT&T. According to a review of cell tower records from AT&T, that phone number was active

on two cell towers within the U.S. Capitol Building on January 6, 2021.

         25.      The Department of Defense reports that YOUNG previously served in the U.S.

Army Reserve and the U.S. Navy Reserve.

         26.      YOUNG is a licensed driver in the state of Florida. His driver’s license photo is

below:
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       27.    I have studied YOUNG’s Florida driver’s license photograph and determined that

YOUNG is the person who appeared in photographs described above. 3

                   Probable Cause – The Oath Keepers / Military Training

       28.    Law enforcement and news media organizations observed that members of a

paramilitary organization known as the “Oath Keepers” were among the individuals and groups

who knowingly, willfully, and forcibly entered the U.S. Capitol.

       29.    On information and belief, the “Oath Keepers” are a large but loosely organized

3
  Please be aware of the following information. First, on or around January 14, 2021, after
receiving an internet tip and viewing similar photographs and video of YOUNG from the civil
unrest on January 6, 2021, an FBI agent drafted an arrest warrant for an individual (Person-1)
other than YOUNG, based on a review of Person-1’s driver’s license photo and the fact that
Person-1 was affiliated with the Oath Keepers. An FBI agent in Kansas City, Missouri, who was
familiar with Person-1, then determined that Person-1 was not the individual depicted in the
photos at the U.S. Capitol on January 6, 2021. The government did not pursue charges against
Person-1. Second, on or around January 15, 2021, a concerned citizen provided the FBI with a
tip that the photograph of YOUNG in the rotunda was a photograph of Person-2, who was a co-
worker of the concerned citizen in Illinois. On January 18, 2021, I spoke with the concerned
citizen, who stated that Person-2 had quit the job and moved to Colorado, and “seemed like the
type” who would have gone to the Capitol. I reviewed Person-2’s driver’s license photo and
determined that Person-2 is not the person depicted in the photographs of YOUNG at the U.S.
Capitol.


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collection of militia who believe that the federal government has been co-opted by a shadowy

conspiracy that is trying to strip American citizens of their rights. Though the “Oath Keepers” will

accept anyone as members, what differentiates them from other anti-government groups is their

explicit focus on recruiting current and former military, law enforcement, and first responder

personnel. The organization’s name alludes to the oath sworn by members of the military and

police to defend the Constitution “from all enemies, foreign and domestic.”

       30.     In the Associated Press news video (described in paragraph 19), YOUNG and his

fellow “Oath Keepers” are in a “stack” moving through the crowd.

       31.     Based on my training and experience, a stack or line formation is a tactical

maneuver used by infantryman in the military. Infantrymen use a close stack to stay together

through a crowd. Stacks can be used for all-around security in certain scenarios. The front man

or point man leads the stack and has eyes front. The number 2 man or the mid-section can provide

security from the sides, such as facing windows or doors. The rear man, or last man, will have

rear security. A stack is the formation that members will use immediately before entering a room.

The entryway, which is commonly referred to as the “fatal funnel,” is where the stack will enter to

overtake a space or room. Normally in the stack, the team leader is the number 3 man because the

number 3 position is easily able to control the rest of the team.

       32.     The evidence I have reviewed provides probable cause that YOUNG was preparing

for a military-style confrontation or attack at or after his entry into the U.S. Capitol. Specifically,

YOUNG was part of a “stack,” YOUNG was wearing military-style tactical gear (including a

helmet), and YOUNG and/or his fellow Oath Keepers had apparent communications devices so

they could stay in contact with one another if they got separated or if it became too loud to speak

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to one another. This evidence suggests that YOUNG was intending to disrupt Congress’s

proceedings and/or to cause harm to individuals at or within the U.S. Capitol.

                                         CONCLUSION

       33.     Based on the foregoing, your affiant submits that there is probable cause to believe

that YOUNG violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or

impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional

proceedings are official proceedings.

       34.     Your affiant also submits that there is probable cause to believe that YOUNG

violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent

to impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds

when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government

business or official functions. For purposes of Section 1752 of Title 18, a restricted building

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of

national significance.

       35.     Your affiant also submits there is probable cause to believe that YOUNG violated

40 U.S.C. § 5104(e)(2)(D), which makes it a crime to which makes it a crime to willfully and

knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

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disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the

orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress.

       36.     Finally, your affiant also submits that there is probable cause to believe that

YOUNG violated 18 U.S.C. § 1519, which makes it a crime to knowingly alter, destroy, mutilate,

conceal, cover up, falsify, or make a false entry in any record, document, or tangible object with

the intent to impede, obstruct, or influence the investigation or proper administration of any matter

within the jurisdiction of any department or agency of the United States, or in relation to or

contemplation of any such matter or case, that is, by deleting his Facebook account on or about

January 7, 2021 (after participating in the civil unrest at the U.S. Capitol on January 6, 2021).




                                              _________________________________
                                              SPECIAL AGENT JAMES WREN
                                              FEDERAL BUREAU OF INVESTIGATION


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS
OF FED. R. CRIM. P. 4.1 BY TELEPHONE, THIS 18 th DAY OF JANUARY, 2021.


                                                      ___________________________________

                                                      U.S. MAGISTRATE JUDGE




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